            Case 2:15-cr-00125-DJC-CKD Document 94 Filed 11/16/17 Page 1 of 5


1    JAN DAVID KAROWSKY
     Attorney at Law
2    A Professional Corporation
     California State Bar Number 53854
3    716 19th Street, Suite 100
     Sacramento, CA 95811-1767
4    KarowskyLaw@sbcglobal.net
     (916) 447-1134
5    (916) 448-0265 (Fax)
6    Attorney for Defendant
     Benjamin Macias
7

8                                UNITED STATES DISTRICT COURT
9                   IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   United States of America,                       )   Case No. Cr.S-15-125-GEB
                                                     )
12                  Plaintiff,                       )
                                                     )
13          vs.                                      )   STIPULATION REGARDING
                                                     )   EXCLUDABLE TIME PERIODS UNDER
14   Benjamin Macias,                                )   THE SPEEDY TRIAL ACT;
                                                     )   [PROPOSED] FINDINGS AND ORDER
15                  Defendant                        )
                                                     )
16                                                   )
                                                     )
17                                                   )
                                                     )
18                                                   )
19

20                                            CASE STATUS
21          On June 23, 2017, Attorney Jan Karowsky was appointed to represent the defendant.
22   Defense counsel has finished reviewing the discovery. Based on the review of the discovery, I
23   have requested and the AUSA has agreed to provide extensive additional, relevant materials. In
24   that regard, I have received all audio recordings of the various alleged drug transactions and
25   conversations between my client’s co-defendant and the DEA undercover agent. All but three of



                                                     -1-
            Case 2:15-cr-00125-DJC-CKD Document 94 Filed 11/16/17 Page 2 of 5


1    those recordings have been transcribed. The Court has approved funds for the remaining three
2    recordings, which cannot be heard adequately for transcription, to be augmented. That
3    augmentation is now being undertaken. Further, based on the content of the transcribed
4    recordings we have, I have made a discovery demand, to which the prosecuting AUSA has
5    agreed, to provide all DEA reports of what appears to have been a parallel “sting” in which my
6    client’s co-defendant was involved with others, not including my client, and from whom the co-
7    defendant appears to have been receiving the drugs he sold to the DEA undercover agent. There
8    appear to be a large amount of these records which I have not yet received. Additionally, the
9    government has provided, upon my discovery request, all phone records of the DEA undercover
10   agent which I am in the process of obtaining Court approval for funds to have these records
11   analyzed to determine if the undercover DEA agent has been completely forthcoming relative to
12   his communications with my client’s co-defendant. Of course, after the augmented recordings
13   are available they will need to be transcribed and reviewed by my client and me; the new reports
14   need to be studied by my client and me; and the phone records will need to be professionally
15   organized and reviewed by my client and me. All of this work is expected to require a good deal
16   more time.
17

18                                          STIPULATIONS
19

20          Regarding the above-captioned action, Plaintiff, United States of America, by and
21   through its counsel of record, and defendant, by and through his counsel of record, hereby
22   stipulate as follows:
23          1.      By previous order, the above-captioned action was set for status conference on
24   November 17, 2017.
25




                                                    -2-
            Case 2:15-cr-00125-DJC-CKD Document 94 Filed 11/16/17 Page 3 of 5


1           2.      By this stipulation, defendant now moves to continue the status conference in this
2    case to January 26, 2018, and to exclude time between November 17, 2017 and January 26,
3    2018, under Local Code T4. The government does not oppose this request.
4           3.      The parties agree and stipulate and request that the Court find the following:
5           a.      Counsel for defendant requires additional time to consult with his client and to
6    conduct investigation and research related to a number of relevant issues raised by the defendant
7    and needs additional time for the preparation, as detailed above.
8           b.      Counsel for defendant believes that failure to grant the above-requested
9    continuance would deny him the reasonable time necessary for effective preparation in the
10   pending case, taking into account the exercise of due diligence.
11          c.      The government does not object to the continuance.
12          d.      Based on the above-stated findings, the ends of justice served by continuing the
13   case for the reasons cited, as requested, outweigh the interest of the public and the defendant in a
14   trial within the original date prescribed by the Speedy Trial Act.
15          e.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
16   et seq., within which trial must commence, the time period of November 17, 2017, to January 26,
17   2018 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code
18   T2] because it results from a continuance granted by the Court at defendant’s request on the basis
19   of the Court's finding that the ends of justice served by taking such action outweigh the best
20   interest of the public and the defendant in a speedy trial.
21                  4.      Nothing in this stipulation and order shall preclude a finding that other
22   provisions of the Speedy Trial Act dictate that additional time periods are excludable from the
23   period within which a trial must commence.
24   IT IS SO STIPULATED.
25




                                                      -3-
            Case 2:15-cr-00125-DJC-CKD Document 94 Filed 11/16/17 Page 4 of 5


1    DATED:         November 15, 2017              PHILLIP A. TALBERT
                                                   Acting U.S. Attorney
2

3
                                            By:    /s/Jan Karowsky for
4
                                                   Paul Hemesath
                                                   Assistant U.S. Attorney
5                                                  Attorney for Plaintiff

6
     DATED:         November 15, 2017              JAN DAVID KAROWSKY
7                                                  Attorney at Law
                                                   A Professional Corporation
8
                                            By:    /s/ Jan David Karowsky
9

10
                                                   JAN DAVID KAROWSKY
11                                                 Attorney for Benjamin Macias

12

13
                                                  ORDER
14
            UPON GOOD CAUSE SHOWN and the stipulation of the parties, it is ordered that
15
     the November 17, 2017 status conference hearing be continued to January 26, 2018 at 9:00 a.m..
16
     Based on the representation of defense counsel and good cause appearing therefrom,
17
     the Court hereby finds that the failure to grant a continuance in this case would deny defense
18
     counsel reasonable time necessary for effective preparation, taking into account the exercise of
19
     due diligence. The Court finds that the ends of justice to be served by granting a continuance
20
     outweigh the best interests of the public and the defendant in speedy trial. It is ordered that time
21
     beginning from November 17, 2017, up to and including the January 26, 2018 status conference
22
     shall be excluded from computation of time within which the trial of this matter must be
23
     commenced under the Speedy Trial Act pursuant to 18 U.S.C. § 316l(h)(7)(A) and (B)(iv) and
24
     Local Code T-4, to allow defense counsel reasonable time to prepare.
25




                                                      -4-
          Case 2:15-cr-00125-DJC-CKD Document 94 Filed 11/16/17 Page 5 of 5


1    IT IS SO FOUND AND ORDERED.
2    Dated: November 16, 2017
3

4

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25




                                         -5-
